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                     UNITED STATES DISTRICT COURT 
            WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

 DENHOLLANDER, et al.                               )
                                                    )   Lead Case No. 1:17-cv-00029-GJQ-ESC
                               Plaintiffs,          )   and Consolidated Cases:
                                                    )   1:17-cv-00222-GJQ-ESC
 v.                                                 )   1:17-cv-00244-GJQ-ESC
                                                    )   1:17-cv-00254-GJQ-ESC
 MICHIGAN STATE UNIVERSITY,                         )   1:17-cv-00257-GJQ-ESC
 et al.,                                            )   1:17-cv-00288-GJQ-ESC
                                                    )   1:17-cv-00349-GJQ-ESC
                               Defendants.          )   1:17-cv-00676-GJQ-ESC
                                                    )   1:17-cv-00684-GJQ-ESC
                                                    )   1:18-cv-00173-GJQ-ESC
                                                    )   1:18-cv-00174-GJQ-ESC
                                                    )   1:18-cv-00188-GJQ-ESC
                                                    )   1:18-cv-00377-GJQ-ESC
                                                    )   1:18-cv-00397-GJQ-ESC
                                                    )   1:18-cv-00433-GJQ-ESC
                                                    )   1:18-cv-00494-GJQ-ESC
                                                    )
                                                    )
                                                    )
                                           Hon. Gordon J. Quist
______________________________________________________________________________

                  EXPEDITED CONSIDERATION REQUESTED
______________________________________________________________________________

  PLAINTIFFS’ MOTION TO DISMISS CLAIMS WITHOUT PREJUDICE AGAINST
         DEFENDANTS USA GYMNASTICS, INC., TWISTARS USA, INC.,
          AND JOHN GEDDERT AND IMMEDIATELY RE-FILE CLAIMS
______________________________________________________________________________

       Plaintiffs in the above-listed lead and member cases in this consolidated action, through

their respective undersigned attorneys, move this Court pursuant to Fed. R. Civ. P. 41(a)(2) for an

order to voluntarily dismiss without prejudice certain causes of action against Defendants USA

Gymnastics, Inc., (“USAG”) Twistars USA, Inc., (“Twistars”) and John Geddert (“Geddert”) in

light of the enactment of Michigan 2018 PA 183, MCL §600.5851b(3), which was signed into law

by Michigan Lieutenant Governor Brian Calley on June 12, 2018. MCL §600.5851b(3) has the


                                                1
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effect of inter alia retroactively extending the statute of limitations for claims involving sexual

abuse of a minor by a physician under the guise of medical treatment. MCL §600.5851b(3)

provides a 90-day window to commence actions for claimants to avail themselves of the

retroactivity afforded by act. The 90-day window of retroactivity afforded by MCL 600.5851b(3)

expires on September 10, 2018, which necessitates Court’s expedited consideration of the instant

motion. Therefore, Plaintiffs respectfully request that the Court consider and decide the

instant motion prior to September 10, 2018.

       Since Plaintiffs in the above listed member cases commenced their actions prior to the

enactment of MCL §600.5851b(3), the Gymnast Plaintiffs1 seek to dismiss all claims against

USAG, Twistars, and Geddert without prejudice and immediately refile a separate action against

these Defendants for the purpose of availing themselves of the retroactivity afforded by MCL

§600.5851b(3). Plaintiffs attempted to accomplish this administrative, logistical, and procedural

step by way of stipulation on numerous occasions over the course of several months with

Defendants USA Gymnastics, Inc., Twistars USA, Inc., and John Geddert to avoid the completely

unnecessary incurrence of cost, time, expense, and waste of judicial resources, but Defendants

categorically refused. As a result, Plaintiffs have been left with no other recourse but to file the

instant motion with the intention of immediately refiling the exact same claims against these

Defendants. This Motion is supported by the accompanying brief in support.



                                                     Respectfully Submitted,




1
 The Gymnast Plaintiffs are specifically defined in Footnote 2 of the accompanying Brief in
Support.

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